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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  AUGUST CABRERA et al.,
          Plaintiffs,

                     v.                                   Civil Action No. 19-3835 (JDB)
  ISLAMIC REPUBLIC OF IRAN,
          Defendant.


  MARK ZAMBON et al.,
          Plaintiffs,

                 v.                                       Civil Action No. 18-2065 (JDB)

  ISLAMIC REPUBLIC OF IRAN,
          Defendant.


                                 MEMORANDUM OPINION

        Between 2006 and 2019, a terrorist syndicate comprising, among other groups, al-Qaeda,

the Taliban, and the Haqqani Network (the “Syndicate”) perpetrated numerous terrorist attacks

against American servicemembers and civilians in Afghanistan. Victims of those attacks and their

family members brought these coordinated suits against the Islamic Republic of Iran under the

terrorism exception to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1605A,

alleging that Iran provided material support for extrajudicial killings to the Syndicate responsible

for these attacks.
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         The Court previously granted default judgment to twenty-three bellwether plaintiffs

associated with eleven bellwether attacks. July 19, 2022 Order [ECF No. 77];1 Cabrera v. Islamic

Republic of Iran, Civ. A. No. 18-2065 (JDB), 2022 WL 2817730, at *57 (D.D.C. July 19, 2022).

The next step in this case is to assess and award damages to additional plaintiffs associated with

those same bellwether attacks, and the Court has been aided by several special masters in this task.

As discussed in detail in this Opinion, the Court will adopt the recommendations of the special

masters in large part, with the modifications noted herein.

                                                   Background2

         The Zambon and Cabrera plaintiffs filed these suits on August 31, 2018 and December 27,

2019, respectively, alleging in part “that Iran provided material support, in the form of

‘sophisticated weapons, critical training, financial assistance, safe haven, and assistance with drug

trafficking,’ to a ‘terrorist syndicate’ operating in Afghanistan from 2006 to 2019.” Cabrera,

2022 WL 2817730, at *1 (quoting Pls.’ Proposed Conclusions of Law [ECF No. 70-2] at 1). They

seek damages for the personal injuries and deaths of victims of the Syndicate’s attacks and the

emotional distress suffered by victims’ families. Id. In May 2021, the Court consolidated these

actions’ Afghanistan-based claims. See Order on Coordinating Afghanistan-Based Claims [ECF

No. 43]; Order on Coordinating Afghanistan-Based Claims [Zambon ECF No. 30]. After plaintiffs

served Iran through diplomatic channels and Iran failed to respond, plaintiffs sought and obtained

an entry of default from the Clerk of Court. Cabrera, 2022 WL 2817730, at *2.




         1
         Unless otherwise indicated, all ECF citations will refer to the filings in Cabrera v. Islamic Republic of Iran,
Civ. A. No. 19-3835. The Court will cite filings in Zambon v. Islamic Republic of Iran, Civ. A. No. 18-2065, as
“Zambon ECF No. #.”
        For a more complete procedural history of this litigation and the Court’s factual findings, see Cabrera,
         2

2022 WL 2817730, at *1–33.
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         The Court adopted a case management plan under which it would first “make findings of

fact and liability conclusions on eleven bellwether attacks, and would then make damages

conclusions as to a subset of the victims injured in those attacks,” after which it would “appoint[]

Special Masters to make liability and damages determinations as to the remaining plaintiffs.”

Cabrera, 2022 WL 2817730, at *2.3 The Court held a three-day evidentiary hearing from October

18 to 20, 2021 at which plaintiffs presented evidence supporting Iran’s liability in each of the

eleven bellwether attacks, including testimony from five fact witnesses and three expert witnesses,

expert reports, military service records, and medical records. See id. at *3.

          On July 19, 2022, the Court issued a Memorandum Opinion detailing factual findings and

legal conclusions regarding the eleven bellwether attacks and the related claims of twenty-three

bellwether plaintiffs. See Cabrera, 2022 WL 2817730. The Court determined “that the Syndicate

committed all eleven [bellwether] attacks, . . . that Iran’s material support substantially contributed

to the Syndicate’s ability to do so,” and that Iran’s support was the proximate cause of the deaths

and injuries that formed the basis for the bellwether plaintiffs’ claims. Id. at *15; see id. at *41

(“[P]laintiffs’ injuries were not only foreseeable: they were the intended result of Iran’s support.”).

         The Court then determined that each bellwether plaintiff was entitled to recover under the

FSIA’s “private right of action against state sponsors of terrorism for plaintiffs who are United

States nationals, members of the armed forces, government employees or contractors, or legal

representatives of those people,” which allows suits “‘for personal injury or death caused by’ acts

including extrajudicial killing and hostage taking.” Cabrera, 2022 WL 2817730, at *41–42



         3
            The bellwether attacks are a subset of the many attacks implicated in this case. They were selected for
initial evaluation by the Court because they “‘represent[] each of the geographies and each of the attack types’ at issue
in this case.” Cabrera, 2022 WL 2817730, at *2 (quoting Case Management Order [ECF No. 28] at 2). Thus, once
the Court made determinations on this representative sample of bellwether attacks, future special masters could then
rely on the Court’s guidance to recommend liability decisions for other similar attacks.
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(quoting 28 U.S.C. § 1605A(c)). The three bellwether plaintiffs who were directly injured in the

attacks were entitled to “recover for pain and suffering from physical injuries based on general tort

principles governing battery” and “for their emotional injuries under a theory of intentional

infliction of emotional distress.” Id. at *42.        Immediate family members of victims—and

functional equivalents of immediate family members who are not legally or biologically related—

were entitled to recover “solatium awards,” which offer compensation for “the mental anguish,

bereavement, and grief that those with a close personal relationship to a decedent experience as

the result of the decedent’s death, as well as the harm caused by the loss of the decedent’s society

and comfort.” Id. (cleaned up). “A solatium claim under § 1605A(c) is indistinguishable from a

claim for intentional infliction of emotional distress.” Id. (internal quotation marks omitted).

       After determining that each bellwether plaintiff was entitled to bring claims under the

private right of action afforded by § 1605A(c), the Court awarded damages and prejudgment

interest to each of those twenty-three plaintiffs. See Cabrera, 2022 WL 2817730, at *43–56. The

Court noted that its “primary consideration is to ensure that ‘individuals with similar injuries

receive similar awards.’” Id. at *43 (quoting Moradi v. Islamic Republic of Iran, 77 F. Supp. 3d

57, 70 (D.D.C. 2015)).      To determine those damages, the Court “endorsed” the “Peterson

II framework,” which establishes baseline awards for victims of terrorist attacks and their families,

id. at *43, *47 (citing Peterson v. Islamic Republic of Iran (“Peterson II”), 515 F. Supp. 2d 25, 52

(D.D.C. 2007)), but granted both upward and downward variances to some bellwether plaintiffs

based on individualized circumstances, see, e.g., id. at *43 (determining that “an upward

adjustment is warranted for each of the three direct-victim plaintiffs” based on the severity of their

suffering); id. at *50 (providing an upward variance to a victim’s child based on evidence of

“severe pain, grief, or suffering”); id. (varying downward for awards to children who never “lived

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with their faither before his death”); id. at *51 (varying downward for older relative of one victim

because “amount of time [he] must suffer with this loss is comparatively less than the suffering of

other family-member victims”). The Court also determined “that an award of prejudgment interest

[wa]s appropriate” and calculated that interest using the prime rate. Id. at *55.

         Finally, the Court instructed that “[p]laintiffs’ remaining claims—both the claims of the

other plaintiffs associated with the bellwether attacks and those of plaintiffs injured in other

attacks—will be referred to a Special Master, who will receive evidence and prepare proposed

findings and recommendations for the disposition of each claim in a manner consistent with this

Opinion.” Cabrera, 2022 WL 2817730, at *57.

         The Court entered a separate Order adopting an administrative plan to “govern further

proceedings as to the damages awards” for plaintiffs whose claims are related to the eleven

bellwether attacks.4 Order Adopting Admin. Plan Concerning Special Masters [ECF No. 79]

(“Admin. Plan”) at 1. The Court instructed the special masters to “assess[] each plaintiff’s standing

under the private right of action in 28 U.S.C. § 1605A(c),” which requires that each plaintiff must

(1) be a U.S. national or member of the armed forces (or meet other qualifications not relevant

here), and (2) “prove that they are an immediate family member, or the functional equivalent, of

an individual killed or physically injured to be entitled to solatium damages.” Id. at 2–3. Then,

the special masters would recommend findings of fact on “the scope of each plaintiff’s

compensatory damages . . . guided by the provisions of 28 U.S.C. § 1605A, this Court’s

Memorandum Opinion, and any further orders that this Court may enter.” Id. at 3 (citation




          4
            For ease of reference, the Court will refer to the plaintiffs whose claims were before the special masters as
“associated plaintiffs” (or some subset thereof, e.g., “associated family-member plaintiffs”). The associated plaintiffs’
claims are all associated with the eleven bellwether attacks, but they were not among the twenty-three bellwether
plaintiffs whose claims were previously adjudicated by the Court.
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omitted). The Court appointed four special masters to assess damages for these associated

plaintiffs: the Hon. Wayne D. Brazil (Ret.), the Hon. Rosalyn Chapman (Ret.), Paul Griffin, Esq.,

and Stephen A. Saltzburg, Esq. See Order Appointing Special Masters [ECF No. 80] at 1.5

        Each special master carefully considered the evidence presented by associated plaintiffs

and issued Reports and Recommendations, which plaintiffs filed with the Court on November 4,

2022. See Special Master Rs. & Rs. [ECF No. 115]. Special Master Brazil considered the claims

of thirty associated plaintiffs—two surviving direct victims and twenty-eight family members of

direct victims—and recommended awards to each. See Special Master Wayne D. Brazil’s R. &

R. for Damages Awards for Thirty Bellwether Pls. [ECF No. 116-1] (“Brazil Rep.”). Special

Master Chapman recommended monetary awards to each of the ten associated family-member

plaintiffs whose claims she considered. See R. & R. of Special Master Hon. Rosalyn Chapman

(Ret.) [ECF No. 116-2] (“Chapman Rep.”). Special Master Griffin also reviewed the claims of

ten associated family-member plaintiffs and recommended awards to each. See Rep. of Special

Master Paul G. Griffin with Proposed Findings of Fact & Conclusions of Law [ECF No. 116-3]

(“Griffin Rep.”). Finally, Special Master Saltzburg analyzed the claims of forty associated

plaintiffs, all of whom are family members of direct victims, and similarly recommended damages

awards for each. See Special Master Stephen A. Saltzburg’s R. & R. Regarding Damages for 40

Bellwether Pls. [ECF No. 116-4] (“Saltzburg Rep.”).

                                                   Analysis

        The special masters have thoroughly analyzed the evidence presented by associated

plaintiffs, and the Court thanks them for their diligent work. In large part, the Court will adopt the


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            The Court originally appointed a fifth special master for this task, but he became unavailable shortly
thereafter. Rep. on Allocation of Bellwether Pls. to Special Masters & Compendium of Signed Special Master Decls.
[ECF No. 82] at 2.
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findings of fact and conclusions of law made by the special masters, with a few exceptions noted

throughout this Opinion.

  I.   Standing

       The Court first instructed the special masters to “assess[] each plaintiff’s standing under

the private right of action in 28 U.S.C. § 1605A(c).” Admin. Plan at 2. “The FSIA provides a

private right of action against state sponsors of terrorism for plaintiffs who are United States

nationals, members of the armed forces, government employees or contractors, or legal

representatives of those people, ‘for personal injury or death caused by’ acts including extrajudicial

killing and hostage taking.” Cabrera, 2022 WL 2817730, at *41 (quoting § 1605A(c)); see Admin.

Plan at 2 (noting that each plaintiff must fall into one of these four categories to have standing

under § 1605A(c)). “Because § 1650A(c) does not spell out the elements of these claims, courts

must apply general principles of tort law,” which impose additional standing requirements—

discussed below—depending on the nature of the tort claim. Cabrera, 2022 WL 2817730, at *41

(internal quotation marks omitted).

       The special masters have concluded that each plaintiff before them has standing to bring a

claim under the private right of action in 28 U.S.C. § 1605A(c). The Court will adopt these

determinations as to each associated plaintiff except one family-member plaintiff, K.E.F.V., whom

the Court concludes does not have standing to bring a solatium claim as an after-born plaintiff.

       A. Survivor Plaintiffs

       The Court first addresses the standing of associated survivor plaintiffs, i.e., those who were

directly injured in the attacks. The Court previously concluded that the bellwether survivor

plaintiffs—who were all armed forces members—could “recover for pain and suffering from

physical injuries based on general tort principles governing battery” because “Iran provided

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material support to the Syndicate with the intent to kill and wound Americans in attacks just like

those that injured” them. Cabrera, 2022 WL 2817730, at *42. To recover damages for physical

injuries, associated survivor plaintiffs must “demonstrate[] that harmful contacts occurred in each

of their cases.” Id. The Court also allowed bellwether survivor plaintiffs to “recover for their

emotional injuries under a theory of intentional infliction of emotional distress” because

“[t]errorist acts—and, by extension, material support for such acts—are by their definition extreme

and outrageous conduct, and Iran intended to cause severe emotional distress by facilitating the

Syndicate’s attacks.” Id. (internal quotation marks and citation omitted). Accordingly, associated

survivor plaintiffs will have standing to recover for emotional injuries if they “experienced”

“severe emotional distress . . . as a result of the Syndicate’s attacks.” Id.

       The special master reports addressed the claims of two associated survivor plaintiffs, and

the Court agrees with Special Master Brazil’s conclusion that those two plaintiffs, Staff Sergeant

(“SSG”) Jonathan Richard Colton Benton and Sergeant (“SGT”) Eric M. Hunter, have standing to

seek damages under § 1605A(c)’s private cause of action. Both plaintiffs are (and always have

been) U.S. citizens, and they have “amply demonstrated that harmful contacts occurred in each of

their cases” and that “they experienced—and continue to experience”—“extreme emotional

distress” “as a result of the Syndicate’s attacks.” Cabrera, 2022 WL 2817730, at *42; see Brazil

Rep. at 2–3, 25–26.

       B. Family-Member Plaintiffs

       The remaining associated plaintiffs before the special masters are family members of direct

victims who bring claims for solatium damages. The Court will now address the claims of all but

one of those associated family-member plaintiffs—the next section will discuss the unique




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situation presented by K.E.F.V., who was not yet born when her father Senior Chief Petty Officer

(“SCPO”) Kraig Vickers died in a bellwether attack.

         As the Court previously explained, a solatium claim—which seeks compensation for “the

mental anguish, bereavement, and grief that those with a close personal relationship to a decedent

experience as the result of the decedent’s death, as well as the harm caused by the loss of the

decedent’s society and comfort”—is “indistinguishable from a claim for intentional infliction of

emotional distress.” Cabrera, 2022 WL 2817730, at *42 (cleaned up).6 A plaintiff may only bring

a solatium claim if they are an immediate family member of a direct victim—i.e., “parents,

siblings, spouses, and children” or the “functional equivalent” thereof, “even if they are not legally

or biologically related.” Id. (internal quotation marks omitted).

         The special masters thoroughly recounted the devastating impacts of the Syndicate’s

attacks on the associated family-member plaintiffs, and the Court has no doubt that each associated

family-member plaintiff suffered emotional distress as a result of the Syndicate’s attacks on their

loved ones. The special masters also determined that each of these plaintiffs was an immediate

family member of a victim or the functional equivalent of an immediate family member.7 The

Court adopts those findings in full.


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           As the Court explained, “[a]lthough, in a traditional tort context, a family member must generally be present
at the time of an attack to recover for intentional infliction of emotional distress, FSIA claimants need not meet this
requirement because a terrorist attack—by its nature—is directed not only at the victims but also at the victims’
families.” Cabrera, 2022 WL 2817730, at *42 (internal quotation marks and citation omitted).
         7
           The Court agrees with the special masters’ determinations that certain plaintiffs are the functional equivalent
of immediate family members. For example, Judith Darrough, the stepmother of SGT James M. Darrough, is the
functional equivalent of his mother, see Griffin Rep. at 11; Donald Newman, Sr., the grandfather of SSG Christopher
R. Newman, is the functional equivalent of his father, see id. at 16–17; Karen Caron, the stepmother of Specialist
Joseph T. Caron, is the functional equivalent of his mother, see Brazil Rep. at 17–18; and Jessie Baldridge, the
stepmother of SGT Dillon C. Baldridge, is the functional equivalent of his mother, see Chapman Rep. at 6–7.
          The Court also notes that one plaintiff is the estate of Kurt E. Zwilling, who passed away in 2021 but was
alive when his son, Corporal (CPL) Gunnar Zwilling, was killed in a bellwether attack. See Saltzburg Rep. at 95–98.
As noted by Special Master Saltzburg, “[c]ourts in this District routinely recognize claims by the legal representative
of estates under 28 U.S.C. § 1605A.” Id. at 97–98; see, e.g., Doe v. Democratic People’s Republic of Korea Ministry
of Foreign Affs. Jungsong-Dong, 414 F. Supp. 3d 109, 128–29 (D.D.C. 2019) (holding that “‘legal representatives’
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         The special masters also found that each plaintiff is a U.S. citizen, which they concluded

satisfies the standing requirements of the FSIA’s private right of action. See Brazil Rep. at 1;

Chapman Rep. at 5–11, 13–16; Griffin Rep. at 2;8 Saltzburg Rep. at 2. The Court accepts the

factual determination that each plaintiff is a U.S. citizen. It also ultimately adopts the conclusion

that each plaintiff’s citizenship suffices to confer standing under § 1605A(c). The Court will,

however, briefly address the unique circumstances of one plaintiff—Jasmin Bays.

         Nearly all of the associated family-member plaintiffs have been U.S. citizens since birth,

but a few are naturalized citizens. Jasmin Bays is the widow of SGT William M. Bays, who was

killed in a Taliban attack on June 10, 2017. Chapman Rep. at 2, 9; see Cabrera, 2022 WL 2817730,

at *26–27 (describing the attack). Ms. Bays became a U.S. citizen on June 27, 2018, just over a

year after the attack that killed her husband. Chapman Rep. at 9. This raises the issue of whether

the private right of action in § 1605A(c) is available to the widow of an armed forces member

killed in a terrorist attack if she did not become a citizen until after the attack.

         The Court will begin with whether Ms. Bays’s citizenship status impacts its subject matter

jurisdiction over her claims, as the FSIA’s private right of action extends only to those claims “for

which the courts of the United States may maintain jurisdiction under this section for money


of . . . close relatives [of terrorism victims]—here, their estates—also may bring solatium claims on their behalf”)
(citation omitted)); see also Cohen v. Islamic Republic of Iran, 268 F. Supp. 3d 19, 26–27 (D.D.C. 2017) (awarding
estate of victim’s father solatium damages in accordance with the established framework for parents of a surviving
victim); Akins v. Islamic Republic of Iran, 332 F. Supp. 3d 1, 45 (D.D.C. 2018) (awarding estate of victim’s sibling
solatium damages in accordance with the established framework for siblings of a surviving victim). Accordingly, that
a plaintiff is an estate of an immediate family member is not a bar to that plaintiff bringing a solatium claim under the
private right of action.
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          Special Master Griffin’s report states in a footnote that “the Special Master recommends that all employee
and contractor victims, along with all U.S. national family members, be awarded damages for wrongful death and/or
pain and suffering under the private right of action in 28 U.S.C. § 1605A(c) and that all other family members be
awarded damages for [intentional infliction of emotional distress] under District of Columbia law.” Griffin Rep. at 4
n.3 (emphases added). However, he did not review the claims of any employee or contractor victims, nor was he
presented with claims from any family members who were not U.S. nationals. See id. at 2 (“Each of these ten Plaintiffs
submitted sufficient evidence of their respective citizenship . . . .”). Nor does any of his actual analysis appear to
implicate District of Columbia law. This inapposite commentary thus does not alter the Court’s conclusions.
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damages.” § 1605A(c)(4). Courts can only hear claims under the terrorism exception if “the

claimant or the victim was, at the time the act [of terrorism] . . . occurred,” a U.S. national, member

of the armed forces, or a government employee. § 1605A(a)(2)(A)(ii) (emphases added). As other

courts have held, when the direct victim of the attack is a member of the armed forces—as SGT

Bays was, see Cabrera, 2022 WL 2817730, at *26—the family-member plaintiff’s citizenship “is

non-consequential” “[f]or jurisdictional purposes . . . because the waiver of foreign sovereign

immunity applies so long as [either] ‘the claimant or the victim . . . , at the time of the’ terrorist

attack,” fell into a covered category. Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 87

(D.D.C. 2018) (quoting § 1605A(a)(2)(A)(ii)).          Accordingly, the Court has subject-matter

jurisdiction over Ms. Bays’ claim.

       The remaining issue is whether § 1605A(c)’s private cause of action otherwise excludes

people—like Ms. Bays—who were not U.S. nationals at the time of the attack but later gained U.S.

citizenship. In one sense, § 1605A(c)’s “federal cause of action . . . is more restrictive” than the

FSIA’s jurisdictional inquiry because it “limits liability to those who are themselves U.S. nationals,

members of the armed services, . . . government employees,” or legal representatives of such an

individual. Fritz, 320 F. Supp. 3d at 87. In another sense, however, the private right of action is

less restrictive, because it does not contain the same express temporal requirement that the claimant

must fall into one of those categories when the terrorist attack occurred.                   Compare

§ 1605A(a)(2)(A)(ii) (granting jurisdiction over the claims based on the status of “the claimant or

the victim . . . at the time the act [of terrorism] . . . occurred”), with § 1605A(c) (granting private

right of action to “a national of the United States” or “a member of the armed forces” without

temporal limits). “Where Congress includes particular language in one section of a statute but

omits it in another, it is generally presumed that Congress acts intentionally and purposely in the

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disparate inclusion or exclusion.” Keene Corp. v. United States, 508 U.S. 200, 208 (1993) (quoting

Russello v. United States, 464 U.S. 16, 23 (1983)) (cleaned up). Hence, it is nonconsequential that

Ms. Bays did not become a citizen until after the attack that killed her husband. See, e.g., Taitt v.

Islamic Republic of Iran, Civ. A. No. 20-1557 (RC), 2023 WL 2536518, at *7 n.9 (D.D.C. Mar.

16, 2023) (noting that because “all Plaintiffs have demonstrated that they are United States

citizens . . . they are eligible to bring suit under the private right of action established under

18 U.S.C. § 1605A(c)” (emphasis added)); Bernhardt v. Islamic Republic of Iran, Civ. A. No. 18-

2739 (TJK), 2023 WL 2598677, at *13 (D.D.C. Mar. 22, 2023) (“‘[A] plaintiff that offers proof

sufficient to establish a waiver of foreign sovereign immunity under § 1605A(a) has also

established entitlement to relief as a matter of federal law’ [under § 1605A(c)] if the plaintiff is a

citizen of the United States.” (quoting Fritz, 320 F. Supp. 3d at 86–87) (emphasis added)). Because

Ms. Bays is now a citizen and the Court otherwise has jurisdiction over her solatium claim, she

may rely on § 1605A(c)’s private right of action.9

         Accordingly, the Court is satisfied that each of the family-member plaintiffs before the

special masters—excepting K.E.F.V., discussed below—have met the standing requirements for

the private cause of action in § 1605A(c) and are entitled to seek solatium damages under that

provision.


         9
            This distinction—between the jurisdictional inquiry’s temporal restriction and the private right of action’s
lack thereof—was on display in this Court’s recent decision in Kar v. Islamic Republic of Iran, Civ. A. No. 19-2070
(JDB), 2022 WL 4598671, at *17 (D.D.C. Sept. 30, 2022). In Kar, the Court considered intentional infliction of
emotional distress claims brought by immediate family members of an Iranian journalist who was the victim of hostage
taking, torture, and extrajudicial killing by Iran. See generally id. Although “all plaintiffs [were] . . . U.S. citizens”
at the time of the Court’s decision, two of them “did not become citizens until” after some of the relevant acts occurred.
Id. at *16. Because “Section 1605A(a)(2)[(A)](ii)’s plain text requires the claimant or victim to be a U.S. national . . .
‘at the time the [hostage taking, torture, extrajudicial killing, etc.] occurred,’” and—unlike SGT Bays—the direct
victim was not a U.S. national or member of the armed forces, “the Court lack[ed] jurisdiction to award [those
plaintiffs] damages for injuries that occurred before they became U.S. nationals.” Id. at *16–17 (second emphasis
added). However, when analyzing the availability of § 1605A(c)’s private right of action, the Court merely noted that
the plaintiffs were “all currently U.S. nationals, . . . and meet the requirements for [§ 1605A(c)’s] application.” Id. at
*17.
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         C. After-Born Plaintiff

         As previously noted, one plaintiff, K.E.F.V., was not yet born when her father, SCPO

Vickers, was killed. See Saltzburg Rep. at 77–79. Rather, SCPO Vickers’s wife was seven months

pregnant at the time of the attack. Id. at 77. Special Master Saltzburg concluded that it was

appropriate under the circumstances to grant standing to K.E.F.V. and recommended awarding her

$2.5 million—50% of the Peterson II baseline—as a solatium award. Id. at 79. Although the

Court acknowledges that the impact of these terrorist attacks on the victims and their families—

including those born after the attacks—continues to this day, the Court disagrees with the legal

conclusion that K.E.F.V. has standing to seek solatium damages and will, regretfully, dismiss her

claim.

         As this Court has recognized, “in similar cases courts have found that children born

following terrorist attacks are not entitled to damages under the FSIA.” Wamai v. Republic of

Sudan, 60 F. Supp. 3d 84, 96 (D.D.C. 2014), aff’d in part, vacated in irrelevant part sub nom.

Owens v. Republic of Sudan, 864 F.3d 751 (D.C. Cir. 2017); see, e.g., Davis v. Islamic Republic

of Iran, 882 F. Supp. 2d 7, 15 (D.D.C. 2012) (denying recovery to “after-born plaintiffs”); Wultz

v. Islamic Republic of Iran, 864 F. Supp. 2d 24, 36 (D.D.C. 2012) (same). In Davis, another judge

explained the issue presented by “after-born” plaintiffs in detail. Intentional infliction of emotional

distress “requires that the [terrorist attack] be ‘directed at a third person.’” Davis, 882 F. Supp. 2d

at 15 (quoting Restatement (Second) of Torts § 46). And, while “[i]t is true that a terrorist attack—

by its nature—is directed not only at the victim but also at the victims’ families,” it is less clear

that such attacks are “‘directed at’ both the family members then-alive—who may clearly

recover—while also being ‘directed at’ unborn family members, a potentially unlimited class.” Id.

(internal quotation marks omitted); see id. (“This class of after-born plaintiffs eligible to recover

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could remain open for decades after a terrorist attack.”). The Davis court accordingly held “that a

plaintiff bringing an action under § 1605A must have been alive at the time of the attack in order

to collect solatium damages.” Id. In Wamai, this Court adopted the Davis court’s holding on after-

born plaintiffs and dismissed the claims of a family-member plaintiff born one month after the

relevant attack. 60 F. Supp. 3d at 96.

         Under this Court’s holding in Wamai, K.E.F.V.—who was born two months after the attack

that killed her father—lacks standing to bring a solatium claim under § 1605A(c). K.E.F.V.’s

claims do not present any special circumstances that might warrant departure from this Court’s

prior approach.10 Accordingly, the Court will dismiss her claims.

                                                    *         *         *

          For these reasons, the Court adopts the special masters’ conclusions that these associated

plaintiffs—with the exception of K.E.F.V., whose claims will be dismissed—have standing to

bring claims under the private right of action in § 1605A(c).

 II.     Compensatory Damages

         As the Court has just concluded, the associated survivor plaintiffs are entitled to recover

for physical and emotional injuries, and associated family-member plaintiffs are entitled to recover


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             In Goldstein v. Islamic Republic of Iran, 383 F. Supp. 3d 15 (D.D.C. 2019), a court considered the claims
of a decedent’s brother who was born only two days after the relevant attack. See 383 F. Supp. 3d at 22–23. The
court recognized that “[t]he bulk of authority in FSIA cases adopts the view that children born after a terrorist incident
are not entitled to solatium damages” and noted that “[t]he reasoning of those cases is not without force.” Id. at 22.
Although the Goldstein court “agree[d]” with the Davis court “that ‘some lines must be drawn,’” id. at 23 (quoting
Davis, 882 F. Supp. 2d. at 15), it found that “special circumstances” justified granting a solatium award in the case
before it, id. “For one thing, [the brother] was born just two days after” the attack at issue, and “there is little difference
between a child born two days after the attack and a child who was only [a] month old at the time of the attack.” Id.
(cleaned up). Perhaps more importantly, “there [wa]s evidence that [the brother] was born prematurely as a result of
his mother’s emotional shock and distress . . . and therefore it [wa]s reasonable to conclude that this child’s life
experience was and is affected not only by the experience of his brother that occurred before his birth but also by the
circumstances of his birth.” Id. (cleaned up). The Goldstein court held that “[t]hat fact alone makes this an exceptional
case justifying a solatium award to [the brother], despite the prevailing approach in this district to deny such awards
for after-born plaintiffs.” Id. No such special circumstances exist here that would warrant departure from the norm
for K.E.F.V.
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for emotional injuries. See also Cabrera, 2022 WL 2817730, at *43. The Court will now assess

each plaintiff’s damages under those theories.

       A. Pain and Suffering

       In assessing pain and suffering damages, “a court’s ‘primary consideration is to ensure that

“individuals with similar injuries receive similar awards.”’” Cabrera, 2022 WL 2817730, at *43

(quoting Moradi, 77 F. Supp. 3d at 70). Given this need for uniformity, judges in this district apply

the Peterson II framework, a “general framework for assessing pain and suffering damages for

direct victims of terrorist attacks.” Id. (quoting Sheikh v. Republic of Sudan, 485 F. Supp. 3d 255,

268 (D.D.C. 2020)). Under the Peterson II framework, “the baseline award for surviving direct

terrorist attack victims is $5 million.” Id.; see Peterson II, 515 F. Supp. 2d at 52. However, “in

more severe instances of physical and psychological pain,” it may be appropriate to depart from

this baseline, Cabrera, 2022 WL 2817730, at *43 (quoting Valore v. Islamic Republic of Iran, 700

F. Supp. 2d 52, 84 (D.D.C. 2010)), and the Court must be “mindful of the need to assess each

plaintiff’s injuries individually, as well as the need ‘to ensure that individuals with similar

injuries’—even between cases—‘receive similar awards.’” Id. (quoting Peterson II, 515 F. Supp.

2d at 54).

       This tranche of associated plaintiffs includes two surviving direct victims—SSG Benton

and SGT Hunter—both of whose claims were presented to Special Master Brazil. First, for SSG

Benton, Special Master Brazil recommended an award of $8 million, which represents a $3 million

upward departure from the Peterson II baseline, based on the severe injuries he suffered and the

consequences of those injuries. See Brazil Rep. at 2–3. The Court agrees with Special Master

Brazil’s assessment, and appreciates his careful effort to ensure that the upward variance

recognized that SSG Benton’s injuries “were not as severe as those of SGT Lemon and [Captain

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(“CPT”)] Timoney”—to each of whom the Court awarded $9 million—“but were much more

severe than a baseline award would fairly and appropriately compensate.” Id. at 3.

        Second, Special Master Brazil considered the circumstances of SGT Hunter, a surviving

victim of an IED attack who lost his right foot and suffered significant additional permanent

physical and emotional harm. See id. at 25–26 (explaining that SGT Hunter has had over 60

surgeries and is still likely to lose his left leg). The Court agrees with Special Master Brazil’s

recommendation of awarding SGT Hunter $9 million in damages, an upward variance that would

parallel the award given to SGT Lemon and CPT Timoney, who suffered similarly traumatic

injuries. Id. at 26.

        Thus, the Court agrees with Special Master Brazil’s thoughtful recommendations for these

two associated survivor plaintiffs and will adopt his conclusions in full.

        B. Solatium

        Because “[s]olatium damages ‘are by their very nature unquantifiable,’ . . . courts generally

calculate solatium damages by looking to prior decisions for guidance.” Cabrera, 2022 WL

2817730, at *47 (quoting Moradi, 77 F. Supp. 3d at 72). The Court again has “endorsed” the use

of the Peterson II framework, which provides “[f]or family members of deceased victims, . . . a

baseline of $8 million for spouses, $5 million for parents and children, and $2.5 million for

siblings,” and under which “those numbers are halved for the family members of surviving victims

($4 million for spouses, $2.5 million for parents and children, and $1.25 million for siblings).” Id.

(citing Peterson II, 515 F. Supp. 2d at 52). As with pain and suffering awards to survivor victims,

the solatium baselines are subject to upward or downward variances, as warranted by individual

circumstances. See id. at *47 & nn. 38–39.




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         The special masters have considered the evidence presented by family member victims and

recommended damages awards, most of which are in line with the Peterson II baselines but some

of which reflect modest variances.11 The Court will now highlight a few plaintiffs with unique

circumstances and will explain any divergence from the special masters’ recommendations.

                i.    Upward Variances for Exceptionally Severe Harm

         Terrorist attacks nearly always have drastic impacts on victims’ loved ones. As this Court

has previously noted, the “‘already-substantial’ [Peterson II] baseline awards ‘take into

consideration the likelihood of serious detrimental effects from these events on families.’”

Cabrera, 2022 WL 2817730, at *53 (quoting Pennington v. Islamic Republic of Iran, Civ. A. No.

19-796 (JEB), 2022 WL 168261, at *3 (D.D.C. Jan. 19, 2022), vacated in part, Civ. A. No. 19-796

(JEB), 2022 WL 18814284 (D.D.C. May 3, 2022)). Accordingly, “[w]hen courts award upward

departures, they usually do so because of an unusual circumstance beyond the ordinary anguish

that results from losing a family member” or having a family member injured in a terrorist attack.

Selig v. Islamic Republic of Iran, Civ. A. No. 19-02889-TNM, 2021 WL 5446870, at *15 (D.D.C.

Nov. 22, 2021).




         11
            This Court instructed the special masters to use the Peterson II framework. See Cabrera, 2022 WL
2817730, at *47 (noting that two frameworks exist—one from Peterson II and another from Est. of Heiser v. Islamic
Republic of Iran, 466 F. Supp. 2d 229 (D.D.C. 2006)—and “endors[ing]” the Peterson II framework); see also Admin.
Plan at 3 (“To assess and evaluate plaintiffs’ damages claims and the applicable law, the Special Master shall be
guided by . . . this Court’s Memorandum Opinion . . . .”). Yet, Special Master Griffin confusingly indicates that “the
well-established Heiser framework . . . is the proper basis for assessing the damages to be awarded to Plaintiffs,”
Griffin Rep. at 3–4, evidently because it was adopted by a different judge in a prior case in which Special Master
Griffin also served as a special master, see id. (citing Barry v. Islamic Republic of Iran, 437 F. Supp. 3d 15, 52–53
(D.D.C. 2020)). Had Special Master Griffin used the Heiser framework, the difference in approach likely would not
have mattered significantly, as both frameworks offer the same baselines for these types of plaintiffs. See Cabrera,
2022 WL 2817730, at *47. But despite his initial statement, Special Master Griffin appears to have actually applied
the Peterson II framework to each plaintiff’s damages assessment, see Griffin Rep. at 10, 12, 14–16, 18, 20,
(determining baselines based on this Court’s “endors[ement of] the Peterson II framework”), so the Court will
disregard his comments on the Heiser framework.
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       Special Master Brazil recommended an upward departure for Kenna Hunter, whose

husband, SGT Eric Hunter, sustained extremely severe physical injuries in a bellwether attack.

See Brazil Rep. at 26–28. Ms. Hunter has suffered particularly heavy emotional tolls of caring for

her husband and coping with his injuries. She remained by his side through 60 surgeries and spent

four years of her life with SGT Hunter at Walter Reed National Military Medical Center. Id. at

27. Her two young children needed to be sent away to live with their grandmother in Alabama,

and they only occasionally saw their parents over the course of two years. Id. She has suffered

anxiety, depression, PTSD, and insomnia and has had to set aside her own career plans. Id. Special

Master Brazil recommended a $5 million award, which is a $1 million (25%) upward departure

from the Peterson II baseline. In recognition of the particularly brutal suffering Ms. Hunter has

endured and the years spent at the hospital caring for her husband, all of which has resulted in

significant negative impacts on her relationship with her own children, the Court finds that Special

Master Brazil’s recommendation of a $5 million award is appropriate.

       The special master recommended Peterson II baseline awards of $2.5 million for each of

SGT Hunter’s adopted children, K.H. and J.H., see Brazil Rep. at 28–30, but the Court concludes

that modest upward variances are warranted given their individualized circumstances and the need

to ensure equivalent awards for similarly situated plaintiffs. K.H. and J.H. had to live away from

their parents during formative years and have suffered heightened effects due to their father’s

injuries. See id. They have been moved from school to school as they have been shipped across

the country based on their parents’ ability to provide care. Id. at 29–30. Both have suffered from

depression. Id. J.H.’s depression has led to suicidal ideations and has required medication. Id. at

30. K.H. later decided to spend two years living with a grandparent because she felt abandoned

by her parents. Id. at 29.

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       Aspects of K.H. and J.H.’s circumstances resemble those of R.C., the son of Lieutenant

Colonel (“LTC”) David Cabrera, who suffered “extreme depression and repeated suicidal

ideation,” and whose ability to live a normal childhood and pursue a traditional education was

especially disrupted by the emotional harms of his father’s death. Cabrera, 2022 WL 2817730, at

*49. In light of R.C.’s circumstances, the Court awarded him solatium damages of $6 million, a

20% upward adjustment from the Peterson II baseline for children of deceased victims. Id. at *50.

The Court concludes that it is appropriate to provide a similar adjustment to K.H. and J.H. and will

award them each $3 million in solatium damages, a 20% upward variance from the Peterson II

baseline.

             ii.   Older Family Members

       In its prior opinion addressing bellwether plaintiffs, the Court issued a slight downward

variance from the baseline award to one older bellwether family-member plaintiff. LTC Cabrera

was “41, almost 42” years old when he was killed in a bellwether attack, and his foster father,

Robert Cabrera, was therefore older than the other bellwether plaintiffs before the Court. Cabrera,

2022 WL 2817730, at *51 (internal quotation marks omitted). Because “the amount of time Robert

must suffer with this loss is comparatively less than the suffering of other family-member victims,”

the Court awarded him $4 million in solatium damages—a 20% downward variance from the

Peterson II baseline for parents of deceased victims. Id.

       The Court therefore concludes that it is appropriate to make a similar reduction to the award

of Donald Edward Newman Sr., the grandfather (who is the functional equivalent of a father) of

SSG Newman, who was 69 years old when his grandson died. See Griffin Rep. at 16–17. Special

Master Griffin recommended the Peterson II baseline award of $5 million, id. at 17, but to maintain




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consistency among the awards of similarly situated individuals, the Court will award Donald

Newman, Sr. $4 million in solatium damages.

       The Court must also address another plaintiff, the estate of Kurt E. Zwilling. Kurt Zwilling

passed away in 2021 but was alive when his son, CPL Gunnar Zwilling, was killed in a bellwether

attack. See Saltzburg Rep. at 95–98. Special Master Saltzburg recommended the Peterson II

baseline award of $5 million. Id. at 98. The Court does not wish to understate the “tremendous”

suffering that Kurt Zwilling endured after his son’s death, id. at 96; however, he passed away

thirteen years later, which is only slightly longer than the time that Donald Newman, Sr. has had

to cope with the loss of SSG Newman. In the interest of ensuring equivalence across awards, the

Court will also award the estate of Kurt E. Zwilling $4 million in solatium damages, a 20%

downward variance.

            iii.   Certain Young Children with Less Close Relationships to Direct Victims

       In its prior opinion, the Court certainly did not decline to give significant awards to

bellwether plaintiffs merely because they were young. See Cabrera, 2022 WL 2817730, at *51

(granting baseline award to an injured victim’s four-year-old daughter). The Court did, however,

conclude that 20% reductions from the Peterson II baseline awards were warranted for two of LTC

Cabrera’s children because they did not live with their father before his death, even though he was

involved still in both their lives. See id. at *50. The Court reasoned that his “role [in the lives of

those two children] was comparatively smaller than it was in the lives of [his other children], with

whom he lived full-time.” Id.; see id. (citing Selig, 2021 WL 5446870, at *22, for the proposition

that “children who were ‘living with their parents are likely to feel the sting of loss more harshly’

than children who were not”). Accordingly, when determining solatium damages, it is necessary




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to consider whether a family-member plaintiff’s relationship with a direct victim was further

removed than traditionally expected.

       Special Master Chapman considered the claims of family members of SGT Baldridge, who

was killed in the same Taliban attack as SGT Bays. See Cabrera, 2022 WL 2817730, at *26;

Chapman Rep. at 2–3. She recommended awarding each of SGT Baldridge’s three half-siblings

the Peterson II baseline award of $2.5 million. See Chapman Rep. at 17–18. SGT Baldridge had

notably different relationships with each of his half-siblings at the time of his death. E.B. was six

years old when SGT Baldridge died, but they “had a strong relationship and loved to spend time

together.” Chapman Rep. at 7. L.B. was only three years old when SGT Baldridge was killed, so

he has “no personal memories” of his half-brother. Id. at 8. S.B. was three months old when her

half-brother SGT Baldridge was killed, and she “never got to meet [SGT Baldridge] or to develop

a relationship with him.” Id. at 9.

       The Court finds it necessary to reduce the awards recommended by Special Master

Chapman for two of SGT Baldridge’s siblings. The Court does not wish to diminish the difficulties

that each of SGT Baldridge’s siblings face, as his tragic death has clearly impacted their lives.

However, the Court must be “mindful of the need to assess each plaintiff’s injuries individually,

as well as the need ‘to ensure that individuals with similar injuries’ . . . ‘receive similar awards.’”

Cabrera, 2022 WL 2817730, at *43 (quoting Peterson II, 515 F. Supp. 2d at 54). The Court

concluded it was necessary to vary downward from the Peterson II baseline awards for some of

LTC Cabrera’s children because of their comparatively less close relationship to him. Id. at *49.

L.B.’s circumstances raise somewhat analogous concerns, as he was so young at the time of SGT

Baldridge’s death that he has no memory of his half-brother. And S.B.’s relationship with SGT

Baldridge was significantly less developed than LTC Cabrera’s was with his children. While LTC

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Cabrera’s children did not live with him, he was at least “involved in both of their lives.” Id. S.B.,

on the other hand, was only three months old when SGT Baldridge was killed, and SGT Baldridge

“was already deployed when S.B. was born,” so “S.B. never got to meet [him] or to develop a

relationship with him.” Chapman Rep. at 9 (citation omitted).

       Hence, the Court will adopt the recommendation of the special master with regards to E.B.,

who was six at time of his half-brother’s death and shared “a strong relationship” with him,

Chapman Rep. at 7, and will award him the Peterson II baseline of $2.5 million in solatium

damages. However, it will vary downward from the baseline for L.B., to whom it grants an award

of $1.75 million (70% of the baseline), and for S.B., to whom it grants an award of $1 million

(40% of the baseline).

       Two other young family-member plaintiffs considered by Special Master Saltzburg present

similar situations. C.C.V. and R.C.V. are the minor children of Chief Petty Officer (“CPO”) Aaron

C. Vaughn, who died in a Taliban attack on a helicopter in Afghanistan on August 6, 2011. See

Cabrera, 2022 WL 2817730, at *20. C.C.V., CPO Vaughn’s daughter, was two months old when

her father died. See Saltzburg Rep. at 69–71. Special Master Saltzburg found that “[s]ince C.C.V.

was only 9 weeks old when CPO Vaughn was killed, she had no idea what was going on.” Id. at

69. R.C.V., CPO Vaughn’s son, was one year old at the time of his father’s death. Id. at 71–72.

His circumstances are similar to those of his sister. See id. at 71 (“Because R.C.V. was so young

at the time, he did not fully grasp what had happened.”).

       The Court thus disagrees with Special Master Saltzburg’s recommendation to award

C.C.V. and R.C.V. the Peterson II baseline for children of deceased victims of $5 million. This is

not to minimize the terrible impact of their father’s death. See Saltzburg Rep. at 70 (noting that

“C.C.V. has struggled without her father in her life” and “feels she was robbed of an amazing

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father”); id. at 71 (same with respect to R.C.V.). But their situation is largely comparable to that

of S.B., the three-month-old who never knew her half-brother, except that losing a parent arguably

leads to greater lasting harm. The Court will accordingly apply a slightly lesser downward

variance to their awards and will grant C.C.V. and R.C.V. each $3 million in solatium damages

(60% of the Peterson II baseline).

                                          *       *        *

       For these reasons, the Court adopts the special masters’ recommendations for

compensatory damages with the exceptions noted above. These awards are reflected in the

Appendix table.

III.   Prejudgment Interest

       The Court previously concluded that “an award of prejudgment interest is appropriate” in

this case. Cabrera, 2022 WL 2817730, at *55. The Court calculated the bellwether plaintiffs’

“interest amount by following the D.C. Circuit’s recommendation in Forman v. Korean Air Lines

Co., 84 F.3d 446 (D.C. Cir. 1996),” id., and will use the same methodology here. The prejudgment

interest amounts for these associated plaintiffs is reflected in the Appendix table.

                                              Conclusion

       For the foregoing reasons, the Court concludes that all but one of the plaintiffs considered

by the special masters has standing to bring claims under the private right of action in 28 U.S.C.

§ 1605A(c). The Court will dismiss K.E.V.F.’s claims because she lacks standing as an after-born

plaintiff. The Court also largely adopts the special masters’ recommendations for compensatory

damages to each eligible plaintiff, with the handful of modifications noted herein, and it will award

prejudgment interest to each plaintiff as reflected in the attached Appendix. A separate Order

specifying each plaintiff’s award will be issued on this date.

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                                                          /s/
                                                   JOHN D. BATES
                                              United States District Judge


Dated: May 16, 2023




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